     8:21-cr-00266-RFR-SMB Doc # 67 Filed: 09/16/22 Page 1 of 3 - Page ID # 108




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                   8:21CR266

         vs.
                                                    ORDER ON SENTENCING SCHEDULE
ANTHONY JAMES SCHLOTFELD,

                       Defendant.

      Pursuant to the Local Rules of Practice (see NECrimR. 32.1(b)), and the
sentencing practices of this court more generally, and to set a schedule and a
procedure for sentencing before the sentencing judge,

        IT IS ORDERED that the following deadlines and procedures are set in this case:

1.      September 23, 2022: Counsel's respective versions of the offense(s) to the
        probation office;

2.      October 14, 2022: Financial information, restitution proposal and any chemical
        dependency/mental health evaluation to the probation office by counsel;

3.      October 28, 2022: Initial presentence report to counsel by the probation office.
        Defense counsel will insure that (a) the defendant has had an opportunity to read
        the initial PSR, or, if the defendant is not fluent in English, that an interpreter has
        read it to the defendant, and (b) the defendant has had an opportunity to voice
        any objections to defense counsel, before defense counsel submits objections to
        the initial PSR;

4.      November 7, 2022: Objections by counsel to the initial presentence report;

5.      November 17, 2022: Probation office's submission to the judge and counsel of
        initial or revised presentence report with changes, if any, responsive to counsels’
        objections, and, if needed, an addendum explaining the probation officer’s
        position regarding any objections to the presentence report previously submitted
        by counsel;

6.      November 25, 2022:
             (a) Any proposals to the probation office for community service,
             community confinement, intermittent confinement or home detention;

               (b) Motions to the court:
     8:21-cr-00266-RFR-SMB Doc # 67 Filed: 09/16/22 Page 2 of 3 - Page ID # 109




                     (1) for departure under the guidelines (including, but not limited to,
                     motions by the government) ; and
                     (2) for deviation or variance from the guidelines as allowed by the
                     Supreme Court’s decision in United States v. Booker, 125 S. Ct.
                     738 (2005) or its progeny;

              (c) Counsel's filing and serving on all other parties and the probation
              officer a written statement of position respecting each of the unresolved
              objections to the presentence report, including the specific nature of each
              objection to the presentence report.

              (d) If evidence is to be offered in support of or in opposition to a motion
              under subparagraph (b) of this paragraph or in support of or in opposition
              to an objection under subparagraph (c) of this paragraph 6, it must be: by
              affidavit, letter, report or other document attached to the statement of
              position or by oral testimony at the sentencing hearing. If oral testimony
              is desired, a request must be made in the statement of position and the
              statement of position must reveal (1) the nature of the expected testimony,
              (2) the necessity for oral testimony, instead of documentary evidence,
              such as affidavits, (3) the identity of each proposed witness, and (4) the
              length of time anticipated for presentation of the direct examination of the
              witness or witnesses. If a request for oral or documentary evidence is
              made by one party but not by the adverse party, the adverse party within
              five working days thereafter may make a responsive request for oral or
              documentary evidence, setting out details in the same manner as required
              by this paragraph 6(d).

               (e) Motions for departure should be supported by a brief that explains
               why the departure from the guideline sentencing range is justified by
               normal guideline departure theory. Motions for deviation or variance
               from the guidelines as allowed under Booker or its progeny should be
               supported by a brief that explains why a sentence other than that called
               for under the guidelines is justified by a principle of law that is different in
               kind or degree from the normal principles of law applied under a strict
               application of the guidelines.

              (f) It is expected that any objection first raised in a party’s statement of
              position will be addressed at the judge’s discretion, and that no
              consideration will be given to any sentencing factor first raised after the
              filing of the written statement.


7.      December 9, 2022 at 2:00 p.m.: Sentencing before Chief Judge Rossiter in
        Omaha, Courtroom #4.
  8:21-cr-00266-RFR-SMB Doc # 67 Filed: 09/16/22 Page 3 of 3 - Page ID # 110




       A probation officer must submit a sentencing recommendation to the sentencing
judge no later than seven days before the sentencing hearing. The probation officer is
directed to provide copies of any sentencing recommendation to counsel for the
government and counsel for the defendant at the time the recommendation is submitted
to the sentencing judge.

      The dates in paragraphs 3 and 4 of this order may be altered by written notice to
counsel and the judge by the probation office.

      DATED this 16th day of September, 2022.

                                               BY THE COURT:


                                               Robert F. Rossiter, Jr.
                                               Chief United States District Judge
